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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             8:12-CR-418

vs.
                                                    FINAL ORDER OF
CHRISTOPHER BATES, TYRONE                             FORFEITURE
FLOWERS, and QUINCY HUGHES,

                  Defendants.

       This matter is before the Court on the plaintiff's Motion for Final Order
of Forfeiture. Filing 170. On May 22, 2014, the Court entered a Preliminary
Order of Forfeiture (filing 126) pursuant to 21 U.S.C. § 853, based upon the
defendants' pleas of guilty to violating 21 U.S.C. §§ 841 and 846, and 18
U.S.C. §§ 924(c) and 2. By way of the Preliminary Order, the defendants'
interests in the following properties were forfeited to the United States:
$1,500 in United States currency found in Bates' vehicle and $108 found in
Bates' wallet on November 29, 2012.
       As directed by the Preliminary Order, a Notice of Criminal Forfeiture
was posted on an official internet government forfeiture site,
www.forfeiture.gov, for at least 30 consecutive days, beginning on May 23,
2014, as required by Rule G(4)(a) of the Supplemental Rules for Admiralty or
Maritime Claims and Asset Forfeiture Actions. A Declaration of Publication
(filing 169) was filed on October 22, 2014. The Court has been advised by the
plaintiff that no petitions have been filed, and after reviewing the record, the
Court finds that no petitions have been filed. Accordingly,

      IT IS ORDERED:

      1.    The plaintiff's Motion for Final Order of Forfeiture (filing
            170) is granted.

      2.    All right, title, and interest in and to the $108 and $1,500
            in United States currency, held by any person or entity, are
            hereby forever barred and foreclosed:

      3.    The above properties are forfeited to the plaintiff.
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     4.    The plaintiff is directed to dispose of the properties
           described above in accordance with law.

     Dated this 27th day of October, 2014.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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